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            BLAN KROME
            1201 N. Market Street I Suite 800 I Wilmington, DE 19801
            blankrome.com



            Phone:        (302) 425-64 79

            Fax:          (302) 428-5104

            Ema ii:       stanley. tarr@blankrome. com




                                                                        As of August 25, 2023


            Amyris, Inc.
            5885 Hollis Street, Suite 100
            Emeryville, CA 94608

                              Re:       Payment of Fees and Expenses of Blank Rome LLP

            Dear Sir or Madam:

                    Blank Rome LLP (the "Firm," "we" and "our") has been retained by an ad hoc group of
            convertible noteholders (the "Ad Hoc Group" or the "Client") who collectively hold more than
            50% of the notes (the "Notes") issued by Amyris, Inc. (the "Company" or "you") under that
            certain Indenture dated as of November 15, 2021, by and among Amyris, Inc. as issuer, and U.S.
            Bank National Association, as trustee, governing the issuance of the Company's 1.50%
            Convertible Senior Notes Due 2026 (as amended, amended and restated, supplemented or
            otherwise modified from time to time, the "Indenture") in connection with (i) the chapter 11
            cases filed by the Company and certain of its subsidiaries (collectively, the "Debtors") under
            Case No. 23-11131 (TMH) in the United States Bankruptcy Court for the District of Delaware (the
            "Chapter 11 Case"); (ii) a potential sale of a portion or substantially all of the Debtors assets;
            and (iii) a potential financial and/or operational restructuring involving the Debtors (any
            such transaction or restructuring, a "Transaction," and such engagement, the "Engagement").
            This letter and the attached Addendum set forth the terms of our engagement for this matter
            (collectively, the "Fee Letter").
                    The purpose of this Fee Letter is to confirm that the Company has agreed to pay the Firm's
            reasonable and documented fees and expenses incurred in connection with the Engagement,
            effective as of August 14, 2023, subject to the terms and conditions set forth herein and subject to
            the Fee Approval Order (as defined below). Notwithstanding the Company's obligations hereunder
            to pay the reasonable and documented fees and expenses of the Firm, the Firm will in no way be
            deemed to represent the Company and no attorney-client relationship between the Firm and the
            Company or any of its affiliates is or will be created or reflected hereby. The Company hereby
            acknowledges and agrees that nothing in this Fee Letter shall, directly or indirectly, by implication
            or otherwise, waive, or be deemed to constitute a waiver of, or otherwise prejudice in any manner
            whatsoever, applicable privileges (if any) including, without limitation, the attorney-client
            privilege, covering all communication and correspondence between the Firm and the Ad Hoc
            Group and any work product and analyses prepared by or on behalf of the Firm or the Ad Hoc




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            Group.
                    In the Chapter 11 Case, the Debtors will file a motion seeking bankruptcy court approval
            to enter into and assume the Fee Letter and to satisfy the Debtors' obligations hereunder (the
            "Fee Approval Motion" and the corresponding order, the "Fee Approval Order"), subject to the
            terms, conditions, and limitations set forth in the Fee Approval Motion and Fee Approval Order.
                    Fees and Expenses. We will bill for our services on a monthly basis and the Company
            agrees to pay each such invoice within three (3) business days of receipt. Unless otherwise agreed
            in writing, we will charge fees based on the hourly rates of the attorneys, paralegals or other
            personnel providing services. The current hourly rates of the attorneys principally responsible for
            work on the Engagement are as follows: Stanley Tarr, $820; and Lorenzo Thomas, $565. We will
            use the services of other attorneys, paralegals or other personnel when appropriate which will be
            charged at the hourly rates for such individuals. The current hourly rates of the attorneys we expect
            to work on the Engagement range from $565 to $820. Our hourly rates are based on experience,
            training, specialty, and other relevant factors. We periodically revise these rates based on various
            factors including market information. We also will invoice you for ancillary services and expenses.

                  Fee Disputes. All Fee Disputes will be governed by procedures set forth in the Fee
            Approval Order.

                   Confirmation ofAgreement. To memorialize our understanding, please sign and return the
            enclosed copy of this Fee Letter. Your signature confirms that this Fee Letter, including the
            attached Addendum but as modified by the Fee Approval Order, is approved and accepted by you.




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                                                          �,
                                                             �
                                                 µyB.Tarr
                                                 , Partner



            Agreed to this _ day of August, 2023

            By:
            Name:
            Title:
            Authorized to sign on behalf ofAmyris, Inc.




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                                           ADDENDUM TO FEE LETTER

                   The policies and practices set forth below apply to our engagement as your counsel:

                   1.      Scope of Representation.

                    Unless otherwise agreed to in writing or we specifically undertake such additional
            representation at your request, we represent only the client named in the engagement letter and
            not its parent, affiliates, subsidiaries, partners, joint venturers, employees, directors, officers,
            shareholders, members, owners, agencies, departments or divisions. If our engagement is limited
            to a specific matter or transaction, and we are not engaged to represent you in other matters, our
            attorney-client relationship will terminate upon the completion of our services with respect to
            such matter or transaction whether or not we send you a letter to confirm the termination of our
            representation.

                   2.      Fees.

                   Hourly rates are subject to periodic review and adjustment. Unless otherwise agreed by
            us in writing our fees will be based on the hourly rates in effect at the time the services are
            rendered.

                    Although we may from time to time for a client's convenience furnish estimates of fees
            or charges that we anticipate will be incurred on a client's behalf, these estimates are subject to
            unforeseen circumstances and are by their nature inexact. We will not be bound by any estimates
            except as otherwise expressly agreed to by us in writing. Furthermore, unless specifically agreed
            to by us in writing, your obligation to pay our fees and costs incurred in connection with the
            representation is not contingent upon our achieving any particular result.

                    Absent a written agreement to the contrary, each client named in the engagement letter is
            jointly and severally liable for all fees and disbursements.

                   3.      Disbursements and Other Charges.

                    In addition to our fees, we will be entitled to payment or reimbursement for
            disbursements and other charges incurred in performing services such as photocopying,
            messenger and delivery, overnight delivery and air freight, computerized research, videotape
            recording, travel (including mileage, parking, air fare, lodging, meals, and ground
            transportation), long distance telephone, telecopying, word processing in special circumstances,
            court costs, and filing fees. To the extent we directly provide any of these services, we reserve
            the right to adjust the amount we charge at any time or from time to time, and the charge will




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            approximate our cost. Unless special arrangements are made, fees and expenses of consultants
            and professionals (such as experts, investigators, witnesses, and court reporters) and other large
            disbursements will not be paid by our firm and will be the responsibility of, and billed directly
            to, you or you will be asked to advance to us an estimate of those costs.

                   4.      Conflicts of Interest.

                    It is unavoidable that from time to time conflicts of interest develop between or among
            our clients, or between clients, or former clients, and prospective clients we wish to represent. In
            these situations, we are required, if we are authorized to do so, to disclose the conflicts to our
            clients, former clients and prospective clients and consult with them and to obtain the clients' or
            former clients' consents before we may proceed. We wish to confirm that you agree that you
            will promptly and in good faith consider our requests for a consent.

                   5.      TerminatiQn.

                    You shall have the right at any time to terminate our services and representation upon
            written notice. Such termination shall not, however, relieve you of the obligation to pay for all
            services rendered and disbursements and other charges made or incurred on your behalf prior to
            the date of termination.

                     We reserve the right upon reasonable notice to cease performing work and to withdraw
            from the representation (a) with your consent, (b) for good cause, or (c) for any other reason
            permitted by law. Good cause may include your failure to honor the terms of the engagement
            letter, your failure to pay amounts billed in a timely manner, your failure to furnish deposits for
            fees and costs or to otherwise provide a requested advance for fees and costs, or any fact or
            circumstance that would, in our view, impair an effective attorney-client relationship or would
            render our continuing representation unlawful, unethical or unreasonably burdensome. If we
            elect to do so, you must take all steps necessary to free us of any obligation to perform further,
            including the execution of any documents (including forms for substitution of counsel) necessary
            to complete our withdrawal, and we will be entitled to be paid for all services rendered and
            disbursements and other charges made or incurred on your behalf prior to the date of withdrawal.

                   6.      Record Retention.

                   At the conclusion of a matter we often undertake to review the file and discard extra
            copies of documents and send the balance of the file on that matter to an offsite facility for
            storage at our expense, unless a client requests us to deliver the files to it. To minimize the file
            storage expense, we reserve the right, subject to your contrary direction, to retain files for only
            seven years and to destroy all older files to the extent practicable; provided that estate planning




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            files and trademark and patent files are retained, and we use our reasonable efforts to review old
            files and retain original legal instruments such as notes, leases, mortgages, deeds, stock
            certificates, marital equitable distribution agreements and other items of obvious value. If you
            wish to handle the disposition of files in a different manner, please let us know. Otherwise, we
            will proceed as set forth above.

                   7.      Litigation Hold/Preservation of Documents.

                    If this engagement involves our representation of you in connection with litigation or an
            investigation by a governmental agency, it is important that we address the need to put in place a
            timely and effective program for preserving all relevant documents, including especially your
            electronic documents and emails. You should immediately suspend any routine document
            retention policies that may be in effect and consult with us concerning the institution of effective
            procedures for document preservation. Failure to do so can impair our ability to represent you in
            this matter and can affect the outcome.

                   8.      Electronic Mail and Other Communications.

                    In the course of our representation of you, we have a duty to preserve the confidentiality
            of our communications with you and other information relating to the representation. However,
            you and we need to recognize that all means of communication are, to some degree, su�ceptible
            to misdirection, delay or interception. E-mail and cellular telephone communications present
            special risks of inadvertent disclosure. However, because of the countervailing speed, efficiency,
            and convenience of these methods of communication, we have adopted them as part of the
            normal course of our operations. Unless you instruct us to the contrary, we will assume that you
            consent to our use of e-mail and cell phone communications in representing you.

                   9.      Insurance.

                    You agree to determine whether any insurance coverage is or may be available with
            respect to the subject matter of the engagement and to provide notice to any insurer that may
            provide coverage. If an insurer pays any portion of our charges, you agree that you will remain
            responsible for payment of any amounts billed by us but not paid by the insurer, unless we have
            agreed otherwise in writing.

                   10.     Written Advices Regarding Federal Tax Issues.

                   Whenever we provide you with written advice concerning the Federal tax treatment of an
            item of income, gain, loss, deduction or credit, the existence or absence of a taxable transfer of
            property, or the value of property for Federal tax purposes, we are subject to stringent




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            requirements imposed by the United States Treasury Department on all tax practitioners,
            including attorneys. These rules cover much more than formal legal opinions and may apply to
            any writing relating to any Internal Revenue Code matter, including communications via e-mail
            and fax. Ifwe fail to comply with these rules, we may (under certain circumstances) be
            suspended or disbarred.from practice before the Internal Revenue Service, be publicly censured
            or fined (to the extent that the Secretary of Treasury promulgates regulations requiring any such
            fines or penalties).




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